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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7      FEDERAL TRADE COMMISSION,                              Case No. 2:18-CV-30 JCM (PAL)
                 8                                             Plaintiff(s),                      ORDER
                 9             v.
               10       CONSUMER DEFENSE, LLC, et al.,
               11                                            Defendant(s).
               12
               13             Presently before the court is plaintiff Federal Trade Commission’s (“FTC”) motion to
               14      temporarily seal case file (ECF No. 3) and motion to file TRO motion in excess of page limits
               15      (ECF No. 4).
               16             Also before the court is interested party Philip Francis Hanley’s (“Hanley”) demand motion
               17      to have plaintiff or prosecutor certify the right of subrogation. (ECF No. 32).
               18             The date the FTC requested the case to be temporarily sealed until has since passed.
               19      Further, the TRO motion for which the FTC requested leave to file in excess of the 24-page limit
               20      was granted. See (ECF No. 12). Accordingly, the court will deny both motions as moot.
               21             Hanley’s motion “demand[s] the [j]udge have the [p]rosecutors and [p]laintiffs’ [sic]
               22      certify that Phillip Francis Hanley and all defendants have the right of subrogation in writing before
               23      Wednesdays [sic], February 7th, 2018 at 10:00 a.m. hearing.” (ECF No. 32). As the hearing has
               24      since passed, the court will deny Hanley’s motion as moot.
               25             Accordingly,
               26             IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the FTC’s motion to
               27      temporarily seal case file (ECF No. 3) and motion to file TRO motion in excess of page limits
               28      (ECF No. 4) be, and the same hereby are, DENIED as moot.

James C. Mahan
U.S. District Judge
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                1             IT IS FURTHER ORDERED that Hanley’s demand motion to have plaintiff or prosecutor
                2      certify the right of subrogation (ECF No. 32) be, and the same hereby is, DENIED as moot.
                3             DATED July 16, 2018.
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                5                                                 UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
